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Diamond Select Toys & Collectibles, LLC                        Case No. 25-10312
Cash Receipts/Disbursements                                           Feb-25



                                                             Diamond Select
    Entity                                                      Toys, LLC
    Account Number                                                8307
    Currency                                                      USD

    Cash Receipts/Disbursements
    Beginning Balance                                    $          1,427.81

    Receipts
     Webstore Customer Payments                                     3,771.87
     Wholesale Customer Advances                                  275,000.00
    Total Receipts                                                278,771.87

    Disbursements
     Vendor Payments (Checks)                                     (30,404.67)
     Vendor Payments (ACH/Wire)                                  (146,127.52)
     Bank Fees                                                       (531.60)
     Payroll And Health Benefits                                  (99,642.88)
    Total Disbursements                                          (276,706.67)

    Ending Balances -Per Bank Statements                            3,493.01

    Deposits In Transit                                                  -
    Outstanding Checks                                                   -

    Totals                                                          3,493.01
